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                       IN THE UNITED STATES DISTRICT COURT
                                               UNITED
                       FOR THE NORTHERN DISTRICT   OFSTATES
                                                       TEXAS DISTRICT COURT
                                                NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION      DALLAS DIVISION

JOSE I. ZAPATA,                                  §                       FILED
                                                                      April 11, 2006
                                                 §
         Petitioner/Defendant,                   §           CLERK, U.S. DISTRICT COURT
                                                 §
vs.                                              §     Criminal Action No. 3:93-CR-285-R (09)
                                                 §
UNITED STATES OF AMERICA,                        §
                                                 §
         Respondent/Plaintiff.                   §

                                             ORDER

         United States Magistrate Judge Jeff Kaplan filed Findings, Conclusions and a

Recommendation in this case on January 11, 2006. Petitioner, Jose I. Zapata, filed objections to the

Findings, Conclusions and Recommendation of the United States Magistrate Judge on January 20,

2006.

         After reviewing Magistrate Judge Kaplan’s Findings, Conclusions, and Recommendation

pursuant to 28 U.S.C. §636(b) along with Petitioner’s objections to those findings, this Court is of

the opinion that the Findings, Conclusions and Recommendation are correct and are hereby

ADOPTED as the Findings of this Court. Consequently, Defendant’s motion for relief from

judgment will be treated as a second motion to correct, vacate, or set aside sentence under 28 U.S.C.

§2255.

         It is so ORDERED.

         ENTERED: April 11, 2006.

                                                      ___________________________________
                                                      JUDGE JERRY BUCHMEYER
                                                      SENIOR U.S. DISTRICT JUDGE
                                                      NORTHERN DISTRICT OF TEXAS
